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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                               Richmond Division


Steves and Sons, Inc.,

        Plaintiff,

V.                                          Civil Action No. 3:20-cv-98


JELD-WEN, INC.,

        Defendant.


                                      ORDER


        Having considered JELD-WEN'S MOTION TO FILE UNDER SEAL (EOF No.

246) (the "Motion"), and for good cause shown, and the requirements

of Local Civil Rule 5 and the decisions of Ashcraft v. Conoco, Inc.,

218 F.3d 288 (4th Cir. 2000), In re Knight Publ'g Co., 743 F.2d 231

(4th Cir. 1984), and Stone v. Univ. of Maryland, 855 F.2d 178 (4th

Cir. 1988) having been met, it is hereby ORDERED that JELD-WEN's

Motion (EOF No. 246) is GRANTED.            It is further ORDERED that the

designated portions of JELD-WEN, Inc.'s Discovery Letter (EOF No.

249) and Exhibits C (EOF No. 249-1), D (EOF No. 249-2), E (EOF No.

249-3), F (EOF No. 249-4), and G (EOF No. 249-5) are filed under

seal,    provided    that   appropriately     redacted   versions   thereof   are

filed in the public record.

        It is so ORDERED.



                                                         /s/
                                     Robert E. Payne
                                     Senior United States District Judge
Richmond, Virginia
Date: June      ^ , 2020
